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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

LIONRA TECHNOLOGIES LIMITED,

               Plaintiff,
                                                 Civil Action No. 2:22-cv-00100-JRG-RSP
v.

SAMSUNG ELECTRONICS CO., LTD.,
SAMSUNG ELECTRONICS AMERICA,
INC.,
         Defendants.


                                 JOINT MOTION TO STAY
                        ALL DEADLINES AND NOTICE OF SETTLEMENT

       Plaintiff Lionra Technologies Limited and Defendants Samsung Electronics Company,

Ltd. and Samsung Electronics America, Inc. have settled, in principle, all matters in controversy

in the above-captioned action between the parties. Accordingly, the parties jointly move the Court

to stay any and all unreached deadlines in this action for thirty (30) days in order to finalize the

settlement of this matter and file appropriate dismissal papers.



Dated: June 7, 2022                                   Respectfully submitted,

                                                       /s/ Melissa R. Smith
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                                                      Samsung Electronics America, Inc.
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                                                   /s/ Reza Mirzaie
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                                                   Attorneys for Plaintiff, Lionra
                                                   Technologies Limited



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(b)(1) on this the 7th day of June, 2022.



                                                      /s/ Melissa R. Smith




                                 CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Plaintiff and counsel for Defendants have complied with

the meet and confer requirement regarding this Motion on June 7, 2022. The Parties are in

agreement and are seeking joint relief.


                                                   /s/ Melissa R. Smith
